                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 1 of 34 Page ID #:119



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                                                                                     6 Attorneys for Defendant
                                                                                       Volvo Car USA LLC
                                                                                     7
                                                                                     8                        UNITED STATES DISTRICT COURT
                                                                                     9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10 JACK SCHROEDER, an                          No.: 2:20-cv-05127-VAP (PVC)
                                                                                       Individual; and BRITNI SUMIDA, an
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 individual;                                 DEFENDANT VOLVO CAR USA
                                                                                                                                   LLC’S NOTICE OF MOTION AND
                                                                                    12                                             MOTION TO DISMISS
                                                                                                          Plaintiffs,              PLAINTIFFS’ SECOND AMENDED
REED SMITH LLP




                                                                                    13                                             COMPLAINT; MEMORANDUM OF
                                                                                              vs.                                  POINTS AND AUTHORITIES IN
                                                                                    14                                             SUPPORT THEREOF
                                                                                       VOLVO GROUP NORTH AMERICA,
                                                                                    15 LLC, a Delaware limited liability           [FED. R. CIV. PROC. 12(B)(6)]
                                                                                       company; and VOLVO CAR USA LLC, a
                                                                                    16 Delaware limited liability company          Date:             September 14, 2020
                                                                                                                                   Time:             2:00 p.m.
                                                                                    17                    Defendants.              Place:            Courtroom 8A_
                                                                                    18                                             Compl. Filed:     June 9, 2020
                                                                                                                                   FAC Filed:        June 29, 2020
                                                                                    19                                             SAC Filed:        July 28, 2020
                                                                                    20                                             Honorable Virginia A. Phillips
                                                                                    21                                             [Request for Judicial Notice, Declaration
                                                                                                                                   of Harrison J. Dossick, and [Proposed]
                                                                                    22                                             Order filed concurrently]
                                                                                    23
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
                                                                                                                   SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 2 of 34 Page ID #:120



                                                                                     1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                                     2        PLEASE TAKE NOTICE THAT on September 14, 2020 at 2:00 p.m., or as
                                                                                     3 soon thereafter as counsel may be heard, before the Honorable Virginia A. Phillips,
                                                                                     4 United States District Judge, in Courtroom 8A of the above-entitled Court, located at
                                                                                     5 350 West 1st Street, Los Angeles, CA 90012, Defendant Volvo Car USA LLC
                                                                                     6 (“Defendant”) will and hereby does move to dismiss Plaintiffs Jack Schroeder and
                                                                                     7 Britni Sumida (“Plaintiffs”) Second Amended Complaint (“SAC”) for failure to state
                                                                                     8 a claim upon which relief may be granted pursuant to Rule 12(b)(6) of the Federal
                                                                                     9 Rules of Civil Procedure.
                                                                                    10        This Motion is based on this Notice of Motion and Memorandum of Points and
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                                                                                    11 Authorities and the concurrently filed Request for Judicial Notice, as well as the
                                                                                    12 papers, pleadings, and other documents on file in this action, matters properly subject
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                                                                                    13 to judicial notice, and such other and further oral or documentary evidence as may be
                                                                                    14 presented at or before the hearing.
                                                                                    15        This Motion is made following the conference of counsel pursuant to L.R. 7-3
                                                                                    16 which took place on July 21, 2020.
                                                                                    17
                                                                                              DATED: August 10, 2020
                                                                                    18
                                                                                                                              REED SMITH LLP
                                                                                    19
                                                                                    20
                                                                                                                              By: /s/ Harrison J. Dossick        _
                                                                                    21                                           Harrison J. Dossick
                                                                                                                                 Jonathan D. Gershon
                                                                                    22                                           Attorneys for Defendant
                                                                                                                                 Volvo Car USA LLC
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
                                                                                                                   SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 3 of 34 Page ID #:121



                                                                                     1
                                                                                                                                     TABLE OF CONTENTS
                                                                                     2
                                                                                                                                                                                                                     Page
                                                                                     3
                                                                                         I.       INTRODUCTION ............................................................................................... 1
                                                                                     4
                                                                                         II.      SUMMARY OF RELEVANT FACTS............................................................... 2
                                                                                     5
                                                                                                  A.       The April 2019 Unauthorized Volvo S60 Super-Bloom Photo
                                                                                     6                     Shoot.......................................................................................................... 2
                                                                                     7            B.       Porch House and Schroeder Post Video and Still Images From
                                                                                     8                     the Super-Bloom Shoot on Two Public Social Media/Content
                                                                                                           Sharing Platforms – Instagram and Behance. ........................................... 3
                                                                                     9
                                                                                                           1.       Instagram -- Features ...................................................................... 4
                                                                                    10
                                                                                                           2.       Instagram -- Terms of Use .............................................................. 5
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                                           3.       Behance -- Features and Terms of Service ..................................... 6
                                                                                    12
                                                                                                  C.       Volvo Re-Shares Super-Bloom Shoot Images on Instagram and
REED SMITH LLP




                                                                                    13                     Pinterest. .................................................................................................... 7
                                                                                    14                     1.       Pinterest’s Features and Terms of Service ..................................... 7
                                                                                    15            D.       Volvo’s Instagram Story Expired After 24 Hours and Volvo
                                                                                                           Removed the Pinterest Photos................................................................... 7
                                                                                    16
                                                                                         III.     LEGAL STANDARD ......................................................................................... 8
                                                                                    17
                                                                                         IV.      ARGUMENT....................................................................................................... 9
                                                                                    18
                                                                                    19            A.       Schroeder’s Copyright Claim Fails Because Volvo Had a Non-
                                                                                                           Exclusive License to Re-Post the Instagram Photographs........................ 9
                                                                                    20
                                                                                                           1.       Pursuant to the IG Terms, Schroeder Granted Instagram a
                                                                                    21                              License and Instagram Granted Volvo a Sub-License
                                                                                                                    That Authorized Volvo to Re-Share the Instagram
                                                                                    22                              Photographs. ................................................................................. 10
                                                                                    23                     2.       Schroeder Made His Instagram Account Public and
                                                                                                                    Therefore Granted Volvo a Direct, Express License to
                                                                                    24                              Re-Share His Content. .................................................................. 11
                                                                                    25                     3.       The IG Terms Also Allow Volvo to Post Copies of
                                                                                                                    Instagram Content on Other Sites. ................................................ 12
                                                                                    26
                                                                                                           4.       Volvo Also Was Authorized to Post the Subject
                                                                                    27                              Photographs on Pinterest Pursuant to the Behance Terms
                                                                                    28                              of Use. ........................................................................................... 12
                                                                                                                                                   –i–
                                                                                               DEFENDANT VOLVO CAR USA LLC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 4 of 34 Page ID #:122



                                                                                     1               5.       By Tagging Volvo, Schroeder Granted Volvo an Implied
                                                                                                              Non-Exclusive License To Share the Instagram
                                                                                     2                        Photographs. ................................................................................. 13
                                                                                     3       B.      Each of Sumida’s Claims is Preempted by the Copyright Act ............... 14
                                                                                     4               1.       Sumida’s State Law Claims are Preempted. ................................. 14
                                                                                     5               2.       Sumida’s Second Claim for Alleged Lanham Act
                                                                                     6                        Violations is also Preempted Under the Copyright Act. .............. 17

                                                                                     7       C.      Sumida’s Claim for Violation of the Lanham Act also Fails
                                                                                                     Because Volvo Did Not Suggest That Sumida Endorsed
                                                                                     8               Volvo’s Cars............................................................................................ 18
                                                                                     9       D.      Sumida’s Claims for Misappropriation of Her “Likeness” Fail
                                                                                                     Because She Gave Consent and All Uses Were Incidental. ................... 20
                                                                                    10
                                                                                                     1.       Sumida Consented to The Use of Her “Likeness” and
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                        Authorized Schroeder and Porch House to Post Her
                                                                                                              Image on Public Social Media Sites. ............................................ 20
                                                                                    12
                                                                                                     2.       Sumida’s Misappropriation Claims Also Fail Because
REED SMITH LLP




                                                                                    13                        Her Likeness Cannot be Identified in Many of the
                                                                                                              Subject Photographs and/or Because Her Likeness Was
                                                                                    14                        Incidental....................................................................................... 22
                                                                                    15       E.      Sumida’s Claims For Attorney’s Fees and Punitive Damages
                                                                                    16               Should be Dismissed. .............................................................................. 23

                                                                                    17               1.       Sumida Is Not Entitled To Attorneys’ Fees.................................. 23
                                                                                    18               2.       Sumida Is Not Entitled To Punitive Damages .............................. 24
                                                                                    19 V.    CONCLUSION ................................................................................................. 24
                                                                                    20
                                                                                    21
                                                                                    22
                                                                                    23
                                                                                    24
                                                                                    25
                                                                                    26
                                                                                    27
                                                                                    28
                                                                                                                                              – ii –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 5 of 34 Page ID #:123



                                                                                     1                                          TABLE OF AUTHORITIES
                                                                                     2                                                                                                                  Page(s)
                                                                                     3
                                                                                         Cases
                                                                                     4
                                                                                         Aligo v. Time-Life Books, Inc.,
                                                                                     5
                                                                                            1994 WL 715605 (N.D. Cal. Dec. 19, 1994) .......................................................... 22
                                                                                     6
                                                                                         Alyeska Pipeline Serv. Co v. Wilderness Soc’y,
                                                                                     7      421 U.S. 240 (1975)................................................................................................. 23
                                                                                     8
                                                                                       Aquawood, LLC v. Toys “R” Us-Delaware, Inc.,
                                                                                     9   2016 WL 10576620 (C.D. Cal. Mar. 10, 2016) ................................................ 18, 20
                                                                                    10 Ashcroft v. Iqbal,
                                                                                          556 U.S. 662 (2009)............................................................................................... 8, 9
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                    12 Bank of the W. v. Superior Court,
                                                                                          2 Cal. 4th 1254 (1992) ............................................................................................. 20
REED SMITH LLP




                                                                                    13
                                                                                    14 Barnabas Clothing, Inc. v. Kabbage, Inc.,
                                                                                          2018 WL 9669565 (C.D. Cal. June 8, 2018) ........................................................... 10
                                                                                    15
                                                                                       Basil v. New Razor & Tie Enterprises, LLC,
                                                                                    16
                                                                                          2018 WL 3869480 (C.D. Cal. Feb. 14, 2018) ......................................................... 17
                                                                                    17
                                                                                       Bell Atlantic Corp. v. Twombly,
                                                                                    18    550 U.S. 544 (2007)............................................................................................... 8, 9
                                                                                    19
                                                                                       Bondar v. LASplash Cosmetics,
                                                                                    20    2012 WL 6150859 (S.D.N.Y. Dec. 11, 2012) ......................................................... 19
                                                                                    21 Brammer v. Violent Hues Prods., LLC,
                                                                                    22    922 F.3d 255 (4th Cir. 2019) ................................................................................... 10
                                                                                    23 Cairns v. Franklin Mint Co.,
                                                                                    24   107 F. Supp. 2d 1212 (C.D. Cal. 2000) ............................................................. 18, 19

                                                                                    25 Cairns v. Franklin Mint Co.,
                                                                                         292 F.3d 1139 (9th Cir. 2002) ................................................................................. 18
                                                                                    26
                                                                                    27 Carranza v. Lideres Entm’t Grp.,
                                                                                         2009 WL 10675974 (C.D. Cal. June 29, 2009) ....................................................... 17
                                                                                    28
                                                                                                                                  – iii –
                                                                                             DEFENDANT VOLVO CAR USA LLC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
                                                                                                                      SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 6 of 34 Page ID #:124



                                                                                     1 Cleary v. News Corp.,
                                                                                     2    30 F.3d 1255 (9th Cir. 1994) ................................................................................... 20

                                                                                     3 Danielson v. Wells Fargo Bank,
                                                                                         2011 WL 4480849 (C.D. Cal. Sept. 26, 2011) ........................................................ 23
                                                                                     4
                                                                                     5 Dastar Corp. v. Twentieth Century Fox Film Corp.,
                                                                                         539 U.S. 23 (2003)................................................................................................... 17
                                                                                     6
                                                                                       Davis v. Elec. Arts Inc.,
                                                                                     7
                                                                                         775 F.3d 1172 (9th Cir. 2015) ................................................................................. 22
                                                                                     8
                                                                                       Delgado v. Nationstar Mortg. LLC,
                                                                                     9   2014 WL 2115218 (C.D. Cal. May 21, 2014) ......................................................... 23
                                                                                    10
                                                                                       Eastwood v. Superior Court of Los Angeles County,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11   149 Cal.App.3d 409 (1983) ..................................................................................... 20
                                                                                    12 Effects Assocs., Inc. v. Cohen,
REED SMITH LLP




                                                                                    13    908 F.2d 555 (9th Cir. 1990) ................................................................................... 13

                                                                                    14 In re Facebook Biometric Info. Privacy Litig..,
                                                                                           185 F. Supp. 3d 1155 (N.D. Cal. 2016) ................................................................... 10
                                                                                    15
                                                                                    16 Field v. Google Inc.,
                                                                                           412 F. Supp. 2d 1106 (D. Nev. 2006) ..................................................................... 11
                                                                                    17
                                                                                       Fleet v. CBS, Inc.,
                                                                                    18
                                                                                           50 Cal.App.4th 1191 (1996) .................................................................................... 15
                                                                                    19
                                                                                       Fteja v. Facebook, Inc.,
                                                                                    20     841 F. Supp. 2d 829 (S.D.N.Y. 2012) ..................................................................... 10
                                                                                    21
                                                                                       Goldsmith v. CVS Pharmacy, Inc.,
                                                                                    22     2020 WL 3966004 (C.D. Cal. May 5, 2020) ........................................................... 23
                                                                                    23 Indep. Living Ctr. of S. California, Inc. v. Kent,
                                                                                    24    909 F.3d 272 (9th Cir. 2018) ................................................................................... 23
                                                                                    25 Interscope Records v. Time Warner, Inc.,
                                                                                    26    2010 WL 11505708 (C.D. Cal. June 28, 2010) ....................................................... 13

                                                                                    27 Japan Telecom, Inc. v. Japan Telecom Am. Inc.,
                                                                                          287 F.3d 866 (9th Cir. 2002) ................................................................................... 20
                                                                                    28
                                                                                                                                                 – iv –
                                                                                                     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 7 of 34 Page ID #:125



                                                                                     1 Ji v. Bose Corp.,
                                                                                     2     538 F. Supp. 2d 349 (D. Mass. 2008) ...................................................................... 19

                                                                                     3 Jones v. Corbis Corp.,
                                                                                          815 F. Supp. 2d 1108 (C.D. Cal. 2011) ................................................................... 21
                                                                                     4
                                                                                     5 Jules Jordan Video, Inc. v. 144942 Canada Inc.,
                                                                                          617 F.3d 1146 (9th Cir. 2010) ........................................................................... 15, 16
                                                                                     6
                                                                                       KNB Enterprises v. Matthews,
                                                                                     7
                                                                                          78 Cal.App.4th 362 (2000) ...................................................................................... 15
                                                                                     8
                                                                                       Kodadek v. MTV Networks, Inc.,
                                                                                     9    152 F.3d 1209 (9th Cir. 1998) ................................................................................. 15
                                                                                    10
                                                                                       Korea Supply Co. v. Lockheed Martin Corp.,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11    29 Cal.4th 1134 (2003) ............................................................................................ 24
                                                                                    12 Lafarga v. Magazine,
REED SMITH LLP




                                                                                    13    2014 WL 12573551 (C.D. Cal. July 18, 2014) ....................................................... 12

                                                                                    14 Lauter v. Rosenblatt,
                                                                                          2017 WL 6205784 (C.D. Cal. Dec. 6, 2017)........................................................... 17
                                                                                    15
                                                                                    16 Lions Gate Entm’t Inc. v. TD Ameritrade Servs. Co., Inc.,
                                                                                          170 F. Supp. 3d 1249 (C.D. Cal. 2016) ................................................................... 17
                                                                                    17
                                                                                       Meribear Prods., Inc. v. Vail,
                                                                                    18
                                                                                          2014 WL 12597609 (C.D. Cal. Aug. 5, 2014) ........................................................ 17
                                                                                    19
                                                                                       MultiCraft Imports, Inc. v. Mariposa USA, Inc.,
                                                                                    20    2017 WL 5664996 (C.D. Cal. Sept. 14, 2017) ........................................................ 12
                                                                                    21
                                                                                       Newcombe v. Adolf Coors Co.,
                                                                                    22    157 F.3d 686 (9th Cir. 1998) ....................................................................... 20, 21, 22
                                                                                    23 Ozeran v. Jacobs,
                                                                                    24   798 F. App’x 120 (9th Cir. 2020) ............................................................................ 24
                                                                                    25 Patel Burica & Assocs., Inc. v. Lin,
                                                                                    26    2019 WL 6954256 (C.D. Cal. Dec. 19, 2019)......................................................... 12

                                                                                    27 Perry v. MLB Advanced Media, L.P.,
                                                                                          2018 WL 5861307 (C.D. Cal. May 30, 2018) ......................................................... 10
                                                                                    28
                                                                                                                                                 –v–
                                                                                                     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 8 of 34 Page ID #:126



                                                                                     1 Plakhova v. Hood,
                                                                                     2    2017 WL 10592315 (C.D. Cal. June 20, 2017) ....................................................... 24

                                                                                     3 R & A Synergy LLC v. Spanx, Inc.,
                                                                                          2019 WL 4390564 (C.D. Cal. May 1, 2019) ........................................................... 20
                                                                                     4
                                                                                     5 Rearden LLC v. Rearden Commerce, Inc.,
                                                                                          683 F.3d 1190 (9th Cir. 2012) ................................................................................. 19
                                                                                     6
                                                                                       Rodriguez v. Experian Servs. Corp.,
                                                                                     7
                                                                                          2015 WL 12656919 (C.D. Cal. Oct. 5, 2015) ......................................................... 10
                                                                                     8
                                                                                       Salt Optics, Inc. v. Jand, Inc.,
                                                                                     9    2010 WL 4961702 (C.D. Cal. Nov. 19, 2010) ........................................................ 12
                                                                                    10
                                                                                       Slep-Tone Entm’t Corp. v. Wired for Sound Karaoke & DJ Servs., LLC,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11    845 F.3d 1246 (9th Cir. 2017) ................................................................................. 17
                                                                                    12 Sprewell v. Golden State Warriors,
REED SMITH LLP




                                                                                    13    266 F.3d 979 (9th Cir. 2001) ..................................................................................... 9

                                                                                    14 Swift v. Zynga Game Network, Inc.,
                                                                                         805 F. Supp. 2d 904 (N.D. Cal. 2011) ..................................................................... 10
                                                                                    15
                                                                                    16 Tompkins v. 23andMe, Inc.,
                                                                                         2014 WL 2903752 (N.D. Cal. June 25, 2014) ........................................................ 10
                                                                                    17
                                                                                       United States v. Ritchie,
                                                                                    18
                                                                                         342 F.3d 903 (9th Cir. 2003) ..................................................................................... 9
                                                                                    19
                                                                                       White v. Samsung Elecs. Am., Inc.,
                                                                                    20   971 F.2d 1395 (9th Cir. 1992) ................................................................................. 18
                                                                                    21
                                                                                       Whittlestone, Inc. v. Handi-Craft Co.,
                                                                                    22   618 F.3d 970 (9th Cir. 2010) ................................................................................... 23
                                                                                    23 Worldwide Church of God v. Philadelphia Church of God, Inc.,
                                                                                    24   227 F.3d 1110 (9th Cir. 2000) ................................................................................... 9
                                                                                    25 Yeager v. Cingular Wireless LLC,
                                                                                    26    673 F. Supp. 2d 1089 (E.D. Cal. 2009) ................................................................... 22

                                                                                    27 Statutes
                                                                                    28 15 U.S.C. § 1125(a)(1).................................................................................................. 18
                                                                                                                                                 – vi –
                                                                                                     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 9 of 34 Page ID #:127



                                                                                     1 17 U.S.C. § 301(a) ........................................................................................................ 14
                                                                                     2 Cal. Civ. Code § 3344(b)(1) ......................................................................................... 22
                                                                                     3
                                                                                       Other Authorities
                                                                                     4
                                                                                       3 M. Nimmer & D. Nimmer, Nimmer on Copyright § 10.03[A] (1989) ..................... 13
                                                                                     5
                                                                                     6 https://en.wikipedia.org/wiki/Pinterest ........................................................................... 7
                                                                                     7 https://help.pinterest.com/en/topics/pins-and-boards; .................................................... 7
                                                                                     8
                                                                                     9
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                 A limited liability partnership formed in the State of Delaware




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                                                                                    23
                                                                                    24
                                                                                    25
                                                                                    26
                                                                                    27
                                                                                    28
                                                                                                                                                  – vii –
                                                                                                     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 10 of 34 Page ID #:128



                                                                                      1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                      2 I.     INTRODUCTION
                                                                                      3        Plaintiff Jack Schroeder, a professional commercial automotive photographer
                                                                                      4 (“Schroeder”), and Plaintiff Britni Sumida, a professional model (“Sumida”)
                                                                                      5 (collectively, “Plaintiffs”), try to make a mountain out of a molehill as they continue
                                                                                      6 to exploit the brand, image, reputation and substantial social media reach of a
                                                                                      7 venerable automotive company to promote themselves professionally. Their claims
                                                                                      8 that Volvo Car USA LLC (“Volvo”) impermissibly shared Schroeder’s photographs
                                                                                      9 and misappropriated Sumida’s image rights as part of an unauthorized “global
                                                                                     10 advertising campaign” are false and disingenuous. There was no such advertising
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                                                                                     11 campaign—at least not one that Volvo created. Volvo simply used basic social media
                                                                                     12 sharing/publishing platform features to re-post Schroeder’s artistic depictions of
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                                                                                     13 Volvo’s newly released/re-designed 2019 model S60 sedan (the “Volvo S60”) months
                                                                                     14 after Schroeder and others had already published (and tagged Volvo in) the subject
                                                                                     15 photographs on their own public social media accounts. As explained below, Volvo’s
                                                                                     16 actions were non-infringing by virtue of the licenses Volvo obtained under the terms
                                                                                     17 of the sharing platforms at issue and by operation of law.
                                                                                     18        As also explained below, Sumida’s purported “likeness” misappropriation and
                                                                                     19 publicity violation claims are preempted, legally deficient and misdirected. No one
                                                                                     20 “photoshopped” Sumida’s image in any of the subject photos, and Volvo never
                                                                                     21 claimed or implied that Sumida endorsed any of its products. Sumida willingly
                                                                                     22 participated in a consumer product-centered photo shoot with other professionals,
                                                                                     23 including Schroeder, who captured countless images of her as she posed alongside and
                                                                                     24 inside the Volvo S60. Sumida then authorized Schroeder and the others to include
                                                                                     25 images of her posing with the Volvo S60 in a so-called (albeit unauthorized) “social
                                                                                     26 campaign for Volvo Cars” that Volvo knew nothing about, let alone approved. If, as
                                                                                     27 Sumida now claims, her modeling career truly suffered as a result, Sumida only has
                                                                                     28 herself, Schroeder and parties other than Volvo to blame.
                                                                                                                                 –1–
                                                                                                 DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 11 of 34 Page ID #:129



                                                                                      1 II.    SUMMARY OF RELEVANT FACTS
                                                                                      2        A.      The April 2019 Unauthorized Volvo S60 Super-Bloom Photo Shoot
                                                                                      3        In early April 2019, Schroeder, Sumida and a video crew from Porch House
                                                                                      4 Pictures (“Porch House”),1 a Schroeder-affiliated production company [SAC, ¶ 27],
                                                                                      5 traveled to a remote Southern California desert area enveloped in “super-bloom” wild
                                                                                      6 flowers. Without Volvo’s knowledge or consent, they spent the entire day capturing
                                                                                      7 stunning video and still images of a brand-new white Volvo S60 (the “Super-Bloom
                                                                                      8 Shoot”). Thereafter, again without Volvo’s knowledge, they created and began to
                                                                                      9 publish an unauthorized “social campaign for Volvo Cars” featuring still and video
                                                                                     10 images of the Volvo S60. See RJN, Exh. 2.2 Although Schroeder now claims he
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                                                                                     11 conducted the Super-Bloom Shoot to “keep his portfolio up to date with images of
                                                                                     12 current models of cars” [SAC, ¶ 16], his other allegations and his/Porch House’s
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                                                                                     13 conduct reveal their true, commercial agenda. First, they wanted to get Volvo’s
                                                                                     14 attention; second, they wanted to reach Volvo’s vast global social media base (which
                                                                                     15 includes other major automotive brands); third, they wanted to create the impression
                                                                                     16 among Volvo’s (a) social media followers, (b) current and prospective customers, and
                                                                                     17 (c) competitors that they had been hired by Volvo to create a “super-bloom” social
                                                                                     18 media campaign for the new Volvo S60; and fourth, they hoped their stunt would
                                                                                     19 persuade Volvo and/or its competitors to hire them on future ad campaigns.3
                                                                                     20
                                                                                     21
                                                                                     22
                                                                                     23   1
                                                                                          Porch House specializes in creating automotive films and has produced
                                                                                     24 (“RJN”), Exh. 1.for Toyota, Jaguar, and BMW. See Request for Judicial Notice
                                                                                        advertisements

                                                                                     25 2 Sumida posed in or with the Volvo S60 in many of these images. SAC, ¶¶ 3, 16-17.
                                                                                     26   3
                                                                                          They used the features of Instagram and other public social media accounts to
                                                                                     27 they (1) their
                                                                                        achieve        first three goals. In the case of Instagram, by simply “tagging” Volvo,
                                                                                                 instantly notified Volvo each time they posted Volvo S60 images on
                                                                                     28 Instagram,  and (2) distributed their unauthorized Volvo S60 “social campaign” to the
                                                                                        200,000-plus users who “follow” Volvo on Instagram.
                                                                                                                                  –2–
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 12 of 34 Page ID #:130



                                                                                      1        B.      Porch House and Schroeder Post Video and Still Images From the
                                                                                                       Super-Bloom Shoot on Two Public Social Media/Content Sharing
                                                                                      2                Platforms – Instagram and Behance.
                                                                                      3
                                                                                      4        Plaintiffs authorized Porch House to publish Super-Bloom Shoot images on
                                                                                      5 Porch House’s public Instagram page. See SAC, ¶ 28, n. 2. Porch House tagged
                                                                                      6 Volvo (along with Schroeder and Sumida) in many of these photographs. See e.g.
                                                                                      7 RJN, Exh. 3:
                                                                                      8
                                                                                      9
                                                                                     10
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                                                                                     11
                                                                                     12
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                                                                                     13
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                                                                                     15
                                                                                     16
                                                                                     17
                                                                                     18
                                                                                     19
                                                                                     20 Porch House also (presumably, with Plaintiffs’ consent) posted the still and video
                                                                                     21 Super-Bloom Shoot on its public Behance page, which falsely represented to the
                                                                                     22 public that Schroeder, Sumida and Porch House created the Super-Bloom Shoot as “a
                                                                                     23 social campaign for Volvo Cars.” 4
                                                                                     24
                                                                                        4
                                                                                          See RJN Exh. 2 at p. 1 (“‘Bloom’ is an integrated production from Porch House in
                                                                                     25 collaboration  with photographer Jack Schroeder. We took full advantage of the
                                                                                     26 film and photo set withand
                                                                                        beautiful super-bloom       took the new S60 out for it’s [sic] debut. Enjoy this short
                                                                                                                Model Britni Sumida for Volvo Cars TM.”); Id., at p. 2
                                                                                     27 (“Director/DP:   Andrew Schneider … Photographer: Jack Schroeder … Production:
                                                                                        Porch House … Model: Britni Sumida … Car: 2019 Volvo S60 ... Client: Volvo.”);
                                                                                     28 and Id. at p. 5 (“Volvo-Bloom. This is a social campaign for Volvo Cars.”).
                                                                                        (Emphasis added).
                                                                                                                                  –3–
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 13 of 34 Page ID #:131



                                                                                      1           In addition, Schroeder posted (i) an unspecified number of Super-Bloom Shoot
                                                                                      2 images on his public Behance “promotional page,” and (ii) nine Super-Bloom Shoot
                                                                                      3 images on his public Instagram page (the “Instagram Photographs”). See RJN Exh. 4;
                                                                                      4 SAC, ¶¶ 18, 22.5
                                                                                      5                 1.    Instagram -- Features
                                                                                      6           Instagram—a “free photo and video sharing” platform owned by Facebook—is
                                                                                      7 among the most popular social media sites in the world. In any given month, more
                                                                                      8 than a billion people world-wide use Instagram’s features to share and re-share
                                                                                      9 photos, videos and other user generated content with their followers or with a select
                                                                                     10 group of friends. See e.g., RJN, Exs. 5-6. Users can post content to Instagram through
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                                                                                     11 its mobile app or website, and can choose whether to share their uploaded content
                                                                                     12 privately (i.e., only with the user’s approved followers) or publicly (i.e., with anyone,
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                                                                                     13 including members of the public who have not created an Instagram account). See
                                                                                     14 RJN, Exs. 7-8.
                                                                                     15           Instagram’s features allow users to share content in two ways: (1) a user can
                                                                                     16 post photographs or videos to his/her/its Instagram page, in which event the posted
                                                                                     17 content will appear in the “feed” of every other Instagram user who follows that
                                                                                     18 person or entity,6 and/or (2) a user can post photographs and videos in the form of a
                                                                                     19 short “Instagram Story,” in which event the posted content will appear in a row at the
                                                                                     20 top of the “feed” of every other Instagram user who follows that person or entity.7
                                                                                     21 The primary difference between the two sharing methods is that an Instagram Story
                                                                                     22
                                                                                        5
                                                                                          Schroeder’s public Instagram page, located at Instagram.com/jackschroedercreative,
                                                                                     23 does   not comport with these allegations. Although Schroeder continues to follow
                                                                                        Volvo   Cars USA on Instagram (see Instagram.com/jackschroedercreative/following/),
                                                                                     24 Schroeder’s  public Instagram page no longer displays the post described in paragraph
                                                                                     25 he ever posted orIndeed,
                                                                                        18  of the SAC.           Schroeder’s public Instagram account no longer reflects that
                                                                                                          re-posted any of the Instagram Photographs on any date.
                                                                                     26 6 See RJN, Exh. 9 (“All posts from accounts you follow on Instagram will appear in
                                                                                     27 your feed.”).
                                                                                          7
                                                                                     28       See RJN, Exh. 10 (“How do I see someone’s Instagram story?”).

                                                                                                                                      –4–
                                                                                                     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 14 of 34 Page ID #:132



                                                                                      1 has a maximum length of 15 seconds and, generally, an Instagram Story automatically
                                                                                      2 expires after 24 hours.8 Instagram explicitly permits a user to include photos posted
                                                                                      3 by other Instagram users in their Instagram Story if the posting user’s “account is
                                                                                      4 public and they've allowed resharing of their posts.”9
                                                                                      5           Instagram also enables users to “tag” other Instagram users in the content they
                                                                                      6 post.      Notably, when (as is the case with Porch House and Schroeder) a user’s
                                                                                      7 Instagram account is public, “anyone can see the photo or video, and the person [that
                                                                                      8 user has] tagged will get a notification.” And, when a user tags another user in a
                                                                                      9 photo or video, Instagram sends a notification to the tagged user and automatically
                                                                                     10 adds that photo or video to the tagged user’s profile. See RJN, Exh. 11.
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                                                                                     11                 2.    Instagram -- Terms of Use
                                                                                     12           Instagram requires every one of its users to accept and comply with the “Terms
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                                                                                     13 of Use” and “Data Policy” that appear in the hyperlinks on Instagram’s “Sign Up”
                                                                                     14 page (see RJN, Exh. 12) and its “Privacy Policy.” See RJN, Exh. 13 (“When you
                                                                                     15 create an Instagram account or use Instagram, you agree to these terms.”); RJN, Exh.
                                                                                     16 14 (“Our Policy applies to all visitors, users, and others who access the Service.”).
                                                                                     17 Pursuant to the Terms of Service effective in April 2019, whenever an Instagram user
                                                                                     18 shared, posted or uploaded photos or videos, that user granted Instagram a broad,
                                                                                     19 royalty-free, transferable/sub-licensable license in and to that posted content, as
                                                                                     20 follows:
                                                                                     21                 When you share, post, or upload content that is covered by
                                                                                                        intellectual property rights (like photos or videos) on or in
                                                                                     22                 connection with our Service, you hereby grant to us a
                                                                                     23                 nonexclusive, royalty-free, transferable, sub-licensable,
                                                                                                        worldwide license to host, use, distribute, modify, run, copy,
                                                                                     24                 publicly perform or display, translate, and create derivative
                                                                                     25                 works of your content (consistent with your privacy and
                                                                                                        application settings).” RJN, Exh. 13 (emphasis added).
                                                                                     26
                                                                                          8
                                                                                     27       See RJN, Exh. 10 (“When does my Instagram Story disappear?”).
                                                                                        9
                                                                                          See RJN, Exh. 10 (“How do I share someone’s post from feed to my Instagram
                                                                                     28 Story?”).
                                                                                                                                   –5–
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 15 of 34 Page ID #:133



                                                                                      1        Instagram’s April 2019 “Data Policy” further provided that:
                                                                                      2               When you share and communicate using our Products, you
                                                                                                      choose the audience for what you share…. Public information
                                                                                      3               can be seen by anyone, on or off our Products, including if
                                                                                                      they don't have an account. This includes your Instagram
                                                                                      4               username; any information you share with a public audience …
                                                                                                      and content you share on a … public Instagram account. …
                                                                                      5               You, other people using … Instagram, and we can provide
                                                                                                      access to or send public information to anyone on or off our
                                                                                      6               Products. ... Public information can also be seen, accessed,
                                                                                                      reshared …. ).” RJN, Ex 15 (emphasis added).
                                                                                      7
                                                                                      8        Pursuant to Instagram’s Privacy Policy,10 Instagram users were advised that
                                                                                      9 when they post content (e.g., a photograph) publicly on Instagram, other Instagram
                                                                                     10 users are granted a royalty-free, non-exclusive license to re-share that user content:
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                                                                                     11               By using our Service you understand and agree that we are
                                                                                                      providing a platform for you to post content, including photos,
                                                                                     12               comments and other materials (“User Content”), to the Service
                                                                                                      and to share User Content publicly. This means that other
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                                                                                     13               Users may search for, see, use, or share any of your User
                                                                                                      Content that you make publicly available through the
                                                                                     14               Service, consistent with the terms and conditions of this
                                                                                                      Privacy Policy and our Terms of Use…
                                                                                     15
                                                                                                      Any information or content that you voluntarily disclose for
                                                                                     16               posting to the Service, such as User Content, becomes available
                                                                                                      to the public, as controlled by any applicable privacy settings
                                                                                     17               that you set. To change your privacy settings on the Service,
                                                                                                      please change your profile setting. Once you have shared User
                                                                                     18               Content or made it public, that User Content may be re-
                                                                                                      shared by others. RJN Exh. 14, (emphasis added).
                                                                                     19
                                                                                     20               3.    Behance -- Features and Terms of Service
                                                                                     21        “Behance, part of the Adobe family, is the leading online platform to showcase
                                                                                     22 [and] discover creative work.” RJN, Exh. 16. According to the Behance Terms of
                                                                                     23 Service, “[b]y submitting your content to our Services, you also give other Behance
                                                                                     24 users the right to share your content via various social media platforms integrated with
                                                                                     25 Behance.” RJN, Exh. 17. Pinterest is one of the social media platforms that is
                                                                                     26
                                                                                        10
                                                                                           The Privacy Policy for April 2019 is not available on the Internet Archive Wayback
                                                                                     27 Machine,   but the November 2019 Privacy Policy matches the January 2019 Privacy
                                                                                        Policy,  thus indicating that the language from the January Privacy Policy was still in
                                                                                     28 effect in April 2019.
                                                                                                                                  –6–
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 16 of 34 Page ID #:134



                                                                                      1 integrated with Behance.11
                                                                                      2            C.      Volvo Re-Shares Super-Bloom Shoot Images on Instagram and
                                                                                                           Pinterest.
                                                                                      3
                                                                                      4            Plaintiffs allege that Volvo re-shared the Instagram Photographs in an
                                                                                      5 Instagram Story on or about November 19, 2019. SAC, ¶ 20. Plaintiffs also allege
                                                                                      6 that Volvo shared the Instagram Photographs, along with two other (unidentified)
                                                                                      7 photographs it obtained from Schroeder’s Behance page (collectively, “Pinterest
                                                                                      8 Photographs”), on Volvo’s Pinterest page. SAC, ¶ 22.
                                                                                      9                    1.    Pinterest’s Features and Terms of Service
                                                                                     10            Pinterest, another popular content-sharing platform, functions like a virtual
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                                                                                     11 bulletin board.12 On Pinterest, when users “pin” a photo or other content to their
                                                                                     12 board, other users are able to “re-pin” (i.e., copy and paste) that photo to their own
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                                                                                     13 board. Once content has been “re-pinned,” the copy remains on the re-pinner’s board
                                                                                     14 even if the original pinner has deleted their post. See RJN Exh. 19 (“Copies of content
                                                                                     15 shared with others may remain even after you delete the content from your account.”).
                                                                                     16            Pinterest allows a business user to update its “cover image”—i.e., the photo
                                                                                     17 collage that appears at the top of the business user’s profile page—to automatically
                                                                                     18 display its most recent activity or “latest Pins.” See RJN, Exh. 21. Thus, when Volvo
                                                                                     19 pinned the Pinterest Photographs to its profile page, some or all of those nine
                                                                                     20 photographs would appear in the cover image at the top of Volvo’s profile page. See
                                                                                     21 SAC, ¶ 21.
                                                                                     22            D.      Volvo’s Instagram Story Expired After 24 Hours and Volvo
                                                                                                           Removed the Pinterest Photos.
                                                                                     23
                                                                                     24            Plaintiffs allege that on November 20, 2019 and November 22, 2019, Schroeder
                                                                                     25 contacted Volvo and asked Volvo to remove the Instagram Photographs (which Volvo
                                                                                     26
                                                                                          11
                                                                                     27        See RJN Exh. 18 (showing Pinterest icon as option for sharing Behance work).
                                                                                        12
                                                                                           See https://help.pinterest.com/en/topics/pins-and-boards;
                                                                                     28 https://en.wikipedia.org/wiki/Pinterest.
                                                                                                                                      –7–
                                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 17 of 34 Page ID #:135



                                                                                      1 re-shared exclusively in the Instagram Story it posted on November 19) and the
                                                                                      2 Pinterest Photographs. SAC, ¶¶ 23-24. Plaintiffs acknowledge that Volvo “removed
                                                                                      3 its [November 19, 2019] Instagram Story,”13 but erroneously allege that Volvo “left
                                                                                      4 the [Pinterest Photographs] on its verified Pinterest page.” SAC, ¶ 25. In support of
                                                                                      5 their Pinterest allegations, the SAC provides a link to a Pinterest page where Plaintiffs
                                                                                      6 contend the Pinterest Photographs were still viewable as of July 23, 2020.14 As can be
                                                                                      7 seen, however, that link does not locate photographs on Volvo’s Pinterest account;
                                                                                      8 rather, it locates photographs that have been re-pinned to a Pinterest page belonging to
                                                                                      9 a third party Pinterest user with the account name “Gussin TPMS.”15
                                                                                     10 III.   LEGAL STANDARD
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                                                                                     11        To survive a motion to dismiss under Rule 12(b)(6) of the Federal Rules of
                                                                                     12 Civil Procedure, a complaint must contain sufficient factual matter, accepted as true,
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                                                                                     13 to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
                                                                                     14 679 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A
                                                                                     15 claim has facial plausibility when the plaintiff pleads factual content that allows the
                                                                                     16 court to draw the reasonable inference that the defendant is liable for the misconduct
                                                                                     17   13
                                                                                           As noted in Section II.A.1, supra, an Instagram Story vanishes after 24 hours.
                                                                                        Thus,  when Schroeder first contacted Volvo on November 20, the Instagram
                                                                                     18 Photographs  either were no longer accessible on Volvo’s Instagram account or were
                                                                                     19 about to disappear.
                                                                                        14
                                                                                     20 SAC, ¶ 21 n. 1 (link to https://www.pinterest.com/pin/757238124832380012/)
                                                                                        15
                                                                                           As explained in Section II.A.2, supra, once a photograph has been “re-pinned,” the
                                                                                     21 source  location user is no longer able to move, modify, or delete the copy of the
                                                                                     22 location userthat
                                                                                        photograph         has been pasted to the destination location. Thus, if the source
                                                                                                       later deletes his/her pinned copy of the photograph, the copy that has
                                                                                     23 been  re-pinned to the destination location (and any subsequent “re-pins” therefrom) is
                                                                                        not affected. Accordingly, the link Plaintiffs provide to a re-pinned copy of the
                                                                                     24 Pinterest Photographs does not demonstrate that Volvo failed to remove the Pinterest
                                                                                        Photographs from Volvo’s Pinterest account. Volvo did. If Volvo had not, Plaintiffs
                                                                                     25 surely would have provided a link to Volvo’s account rather than a link to the “Gussin
                                                                                        TMPS” account. Moreover, Schroeder, as the copyright owner, can easily remove
                                                                                     26 unauthorized    copies of the Pinterest Photographs by serving Pinterest with a
                                                                                        “Copyright Removal request” or a DMCA take-down notice. See RJN Exh. 20 (“If
                                                                                     27 you  believe that your copyrights are being infringed and you’d like to have content
                                                                                        removed, visit our copyright page to submit a copyright removal notice to us. … Only
                                                                                     28 the owner of a copyright (or an authorized agent acting on their behalf) can submit a
                                                                                        copyright removal request.”).The fact that he still has not done so speaks volumes.
                                                                                                                                   –8–
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 18 of 34 Page ID #:136



                                                                                      1 alleged.” Iqbal, 556 U.S. at 678. It is “plaintiff’s obligation to provide . . . more than
                                                                                      2 labels and conclusions, and a formulaic recitation of the elements of a cause of action
                                                                                      3 will not do.” Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of a
                                                                                      4 cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556
                                                                                      5 U.S. at 678. Moreover, federal courts are not “required to accept as true allegations
                                                                                      6 that are merely conclusory, unwarranted deductions of fact, or unreasonable
                                                                                      7 inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
                                                                                      8        “A court may… consider certain materials—documents attached to the
                                                                                      9 complaint, documents incorporated by reference in the complaint, or matters of
                                                                                     10 judicial notice—without converting the motion to dismiss into a motion for summary
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                                                                                     11 judgment.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
                                                                                     12 IV.    ARGUMENT
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                                                                                     13        A.      Schroeder’s Copyright Claim Fails Because Volvo Had a Non-
                                                                                                       Exclusive License to Re-Post the Instagram Photographs.
                                                                                     14
                                                                                     15        Simply put, when Schroeder created his Instagram account, he agreed to and
                                                                                     16 became bound by Instagram’s Terms of Use, Data Policy, Privacy Policy, and other
                                                                                     17 terms of service (collectively, the “IG Terms”). The IG Terms, among other things,
                                                                                     18 grant non-exclusive licenses to Instagram and Volvo that allowed Volvo to re-share
                                                                                     19 the Instagram Photographs. In addition, by tagging Volvo in the subject photographs,
                                                                                     20 Schroeder (and Porch House) granted Volvo an implied non-exclusive license to share
                                                                                     21 the Subject Photographs on Instagram and on other social media sites.               As a
                                                                                     22 consequence, Volvo did not infringe Schroeder’s copyright interests when it re-shared
                                                                                     23 any of the photographs at issue. See e.g., Worldwide Church of God v. Philadelphia
                                                                                     24 Church of God, Inc., 227 F.3d 1110, 1114 (9th Cir. 2000) (“The existence of a license
                                                                                     25 creates an affirmative defense to a claim of copyright infringement.”).
                                                                                     26
                                                                                     27
                                                                                     28
                                                                                                                                  –9–
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 19 of 34 Page ID #:137



                                                                                      1               1.     Pursuant to the IG Terms, Schroeder Granted Instagram a License
                                                                                                             and Instagram Granted Volvo a Sub-License That Authorized
                                                                                      2                      Volvo to Re-Share the Instagram Photographs.
                                                                                      3         When Schroeder created his Instagram account, he expressly consented to the
                                                                                      4 IG Terms hyperlinked directly below the “sign up” button. All such terms (then
                                                                                      5 existing and as subsequently modified by Instagram) were and continued to be
                                                                                                                                                       16
                                                                                      6 binding on and enforceable as to Schroeder as a matter of law.
                                                                                      7         In accordance with Instagram’s Terms of Use, when Schroder posted the
                                                                                      8 Instagram Photographs, he granted “to Instagram a non-exclusive, fully paid and
                                                                                      9 royalty free, transferable, sub-licensable, worldwide license to host, use, distribute,
                                                                                     10 modify, run, copy, publicly perform or display, translate, and create derivative works
                                                                                     11 of [Schroeder’s] (consistent with [his] privacy and application settings).” RJN, Exh.
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                                                                                     12 13. These licenses are essential because the Instagram platform, which is “specifically
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                                                                                     13 designed for the participatory ‘sharing’ — or copying — of content.” Brammer v.
                                                                                     14 Violent Hues Prods., LLC, 922 F.3d 255, 269 (4th Cir. 2019).            The sub-license
                                                                                     15   16
                                                                                             Courts have routinely found that when an account user agrees to be bound by a
                                                                                     16   website’s terms and conditions when creating an account, and those terms are
                                                                                          hyperlinked near the webpage’s sign-up button, the terms are enforceable. See e.g. In
                                                                                     17   re Facebook Biometric Info. Privacy Litig.., 185 F. Supp. 3d 1155, 1167 (N.D. Cal.
                                                                                          2016) (finding that plaintiffs were bound by terms of use based on their creating a
                                                                                     18   Facebook account on a page similar to Instagram sign up page); Fteja v. Facebook,
                                                                                          Inc., 841 F. Supp. 2d 829, 841 (S.D.N.Y. 2012) (same); Swift v. Zynga Game
                                                                                     19   Network, Inc., 805 F. Supp. 2d 904, 912 (N.D. Cal. 2011) (Because Plaintiff was
                                                                                          provided with an opportunity to review the terms of service in the form of a hyperlink
                                                                                     20   immediately under the ‘I accept’ button and she admittedly clicked ‘Accept,’ … a
                                                                                          binding contract was created here.”); Barnabas Clothing, Inc. v. Kabbage, Inc., 2018
                                                                                     21   WL 9669565, at *3 (C.D. Cal. June 8, 2018) (““The Court agrees that Plaintiffs
                                                                                          entered into valid arbitration agreements with Defendants. Plaintiffs indicated that
                                                                                     22   they accepted the Arbitration Provision by selecting the “Accept” prompt located in
                                                                                          the Kabbage Platform. This is sufficient to create an agreement under … California
                                                                                     23   law.”); Perry v. MLB Advanced Media, L.P., 2018 WL 5861307, at *3 (C.D. Cal. May
                                                                                          30, 2018) (“[T]he Court agrees that Plaintiff’s acceptance of the Terms of Use—
                                                                                     24   specifically, her clicking the ‘Buy & Accept Terms’ button at the time she purchased
                                                                                          the Subscription—was sufficient to bind her to the Arbitration Provision.”); Rodriguez
                                                                                     25   v. Experian Servs. Corp., 2015 WL 12656919, at *2 (C.D. Cal. Oct. 5, 2015)
                                                                                          (enforcing terms of use because where the “website contained a hyperlink to the
                                                                                     26   Terms of Use at the bottom of every page and included an express disclosure and
                                                                                          acknowledgment, which stated, “By clicking the button above ... you agree to our
                                                                                     27   Terms of Use.”) Tompkins v. 23andMe, Inc., 2014 WL 2903752, at *8 (N.D. Cal. June
                                                                                          25, 2014) (finding terms of service enforceable when “during the account creation and
                                                                                     28   registration processes, each named Plaintiff clicked a box or button that appeared near
                                                                                          a hyperlink to the TOS to indicate acceptance of the TOS”).
                                                                                                                                  – 10 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 20 of 34 Page ID #:138



                                                                                      1 Schroeder granted to Instagram, in turn, allowed Volvo (and other users) to copy and
                                                                                      2 re-share the Instagram Photographs, including in an Instagram Story.17 Volvo’s use of
                                                                                      3 the Instagram Photographs therefore was permissible and did not infringe Schroeder’s
                                                                                      4 copyright interests.
                                                                                      5               2.       Schroeder Made His Instagram Account Public and Therefore
                                                                                                               Granted Volvo a Direct, Express License to Re-Share His Content.
                                                                                      6
                                                                                      7        In addition to the foregoing sub-license Volvo obtained from Instagram,
                                                                                      8 because Schroeder set his account to “public,” Schroeder granted Volvo a direct
                                                                                      9 license to re-share the Instagram Photographs. See RJN Exh. 14 (“. . . other Users
                                                                                     10 may search for, see, use, or share any of your User Content that you make
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                                                                                     11 publicly available through the Service” . . . “Once you have shared User Content
                                                                                     12 or made it public, that User Content may be re-shared by others.”) (Emphasis
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                                                                                     13 added.) Instagram’s Privacy Policy also expressly stated that content posted to a
                                                                                     14 public account can be shared by other users when they create an Instagram Story.18 In
                                                                                     15 addition, the governing Instagram Data Policy provided that “other people using …
                                                                                     16 Instagram … can provide access to or send public information to anyone on or off
                                                                                     17 our Products” and that “public information can also be seen, accessed, reshared or
                                                                                     18 downloaded” by others. RJN, Exh. 15 (emphasis added). Thus, by electing to make
                                                                                     19 his account public and by not choosing settings that would prevent others from re-
                                                                                     20 sharing his content, Schroeder granted Volvo and other Instagram users a license to
                                                                                     21 re-share the Instagram Photographs and all the other content Schroeder posts on his
                                                                                     22 Instagram page. See Field v. Google Inc., 412 F. Supp. 2d 1106, 1109, 1116 (D. Nev.
                                                                                     23 2006) (finding that “Google held an implied license to reproduce and distribute copies
                                                                                     24
                                                                                        17
                                                                                           Instagram permits users to re-share content posted by other users by, among other
                                                                                     25 means,   utilizing Instagram’s tools and features to create Instagram Stories. See RJN,
                                                                                     26 Exh.  10  (“How do I share someone’s post from feed to my Instagram Story?”).
                                                                                        18
                                                                                           See RJN, Exh. 10 (“You can only share someone’s post from Feed to your story if
                                                                                     27 their account is public and they’ve allowed resharing of their posts… If you have a
                                                                                     28 public  account, you can turn off the ability for others to re-share your posts.”).

                                                                                                                                  – 11 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 21 of 34 Page ID #:139



                                                                                      1 of the copyrighted works at issue” where the plaintiff had “knowledge that he could
                                                                                      2 prevent [defendant’s] use,” but “instead made a conscious decision to permit it.”).
                                                                                      3               3.    The IG Terms Also Allow Volvo to Post Copies of Instagram
                                                                                                            Content on Other Sites.
                                                                                      4
                                                                                      5        The terms of the direct and indirect usage rights licensed to users under the IG
                                                                                      6 Terms are extremely broad. The terms of these licenses do not state, nor can they
                                                                                      7 reasonably be interpreted as stating, that Volvo may only re-share publicly posted
                                                                                      8 content on the Instagram platform. Volvo thus had the right to make copies of the
                                                                                      9 publicly posted Instagram Photographs and post those copies on third party sites or
                                                                                     10 platforms such as Pinterest.19
                 A limited liability partnership formed in the State of Delaware




                                                                                     11               4.    Volvo Also Was Authorized to Post the Subject Photographs on
                                                                                                            Pinterest Pursuant to the Behance Terms of Use.
                                                                                     12
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                                                                                     13        Pursuant to the Behance Terms of Service, Behance users can share content
                                                                                     14 posted by other Behance users on Pinterest and the other sharing platforms that are
                                                                                     15 integrated with Behance. Accordingly, in addition to the broad direct and indirect
                                                                                     16 licenses Volvo obtained under the IG Terms, Volvo had the right to copy and paste
                                                                                     17 Super-Bloom Shoot photographs from Behance Volvo’s Pinterest profile page.20
                                                                                     18   19
                                                                                            Volvo notes that Plaintiffs do not (nor can they) allege that Volvo used the
                                                                                     19 photographs API”
                                                                                        “Instagram             embedding tool or otherwise embedded any of the subject
                                                                                                       on Pinterest or elsewhere, and Volvo did not do so. Volvo merely copied
                                                                                     20 images  from Schroeder’s public Instagram account and/or Schroeder’s public Behance
                                                                                        account, re-posted those images on Pinterest, and displayed those images as permitted
                                                                                     21 under Pinterest’s terms and conditions.
                                                                                        20
                                                                                           Schroeder alleges that two of the photographs Volvo posted on its Pinterest profile
                                                                                     22 page  had not previously been posted to his Instagram page. The SAC, however, fails
                                                                                     23 a claim forthose
                                                                                        to identify        two photographs (see SAC, ¶ 22) and, thus, does not sufficiently state
                                                                                                      copyright infringement on that basis as to those two photographs. See
                                                                                     24 Lafarga   v. Magazine, 2014 WL 12573551, at *3 (C.D. Cal. July 18, 2014) (granting
                                                                                        motion to dismiss because the plaintiff only named “two of his paintings that were
                                                                                     25 published   in the Magazine” but did “not identify the other four” and thus failed to
                                                                                        adequately identify the “specific material” that the defendant allegedly infringed);
                                                                                     26 Patel  Burica & Assocs., Inc. v. Lin, 2019 WL 6954256, at *4 (C.D. Cal. Dec. 19,
                                                                                        2019) (“Here, the complaint does not describe, in any level of specificity, what … [the
                                                                                     27 defendants]    allegedly copied. That is insufficient.”); MultiCraft Imports, Inc. v.
                                                                                        Mariposa USA, Inc., 2017 WL 5664996, at *3 (C.D. Cal. Sept. 14, 2017) (“The FAC
                                                                                     28 similarly  fails to allege sufficient facts that show copying because it is not clear what
                                                                                        works are at issue.”); Salt Optics, Inc. v. Jand, Inc., 2010 WL 4961702, at *6 (C.D.
                                                                                                                                  – 12 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 22 of 34 Page ID #:140



                                                                                      1               5.     By Tagging Volvo, Schroeder Granted Volvo an Implied Non-
                                                                                                             Exclusive License To Share the Instagram Photographs.
                                                                                      2
                                                                                      3        As explained in Section IV. A. 2, supra, because Schroeder posted the
                                                                                      4 Instagram Photographs on his public account, the IG Terms granted Volvo an express
                                                                                      5 non-exclusive license to share the Instagram Photographs in an Instagram Story. In
                                                                                      6 addition, the totality of the facts and circumstances alleged in the SAC establish that
                                                                                      7 Schroeder also granted Volvo an implied, non-exclusive license to share the subject
                                                                                      8 photographs as a matter of law.
                                                                                      9        “‘[A] nonexclusive license may be granted orally, or may even be implied from
                                                                                     10 conduct.’” Effects Assocs., Inc. v. Cohen, 908 F.2d 555, 558 (9th Cir. 1990) (citing 3
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 M. Nimmer & D. Nimmer, Nimmer on Copyright § 10.03[A], at 10–36 (1989)
                                                                                     12 (“Nimmer”).        “Effects Associates stands for the proposition that when three
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                                                                                     13 requirements are met—(1) the work was created for defendant or at defendant's
                                                                                     14 request; (2) the work was delivered to defendant by plaintiff; and (3) plaintiff intended
                                                                                     15 defendant to use the work—an implied license exists... However, nothing in Effects
                                                                                     16 Associates establishes that these three elements are necessary requirements for an
                                                                                     17 implied license… ‘Where the totality of the parties’ conduct indicates an intent to
                                                                                     18 grant such permission, the result is a nonexclusive license.’” Interscope Records v.
                                                                                     19 Time Warner, Inc., 2010 WL 11505708, at *3 (C.D. Cal. June 28, 2010) (citing
                                                                                     20 Nimmer § 10.03[A][7]). (Emphasis added.)
                                                                                     21        Here, the combined actions of Schroeder and his affiliate/agent (Porch House)
                                                                                     22 indicate that Schroeder intended to grant Volvo permission to re-share the subject
                                                                                     23 photographs on social media. Specifically, when Schroeder authorized Porch House
                                                                                     24 to tag Volvo, Sumida and him in the Instagram Photographs, they triggered a series of
                                                                                     25 events. First, Volvo was notified; second, Volvo received a copy of the Instagram
                                                                                     26 Photographs; and third, a copy of the Instagram Photographs effectively was
                                                                                     27 Cal. Nov. 19, 2010) (“Plaintiff makes no attempt to identify which portions of the
                                                                                        website or catalog it accuses Defendants of infringing…. Plaintiff needs to delineate
                                                                                     28 more clearly … which facts it alleges in support of its copyright claim.”).
                                                                                                                                 – 13 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 23 of 34 Page ID #:141



                                                                                      1 distributed to every Instagram user who followed Volvo, Schroeder or Sumida on
                                                                                      2 Instagram. Also, as noted above, when Schroeder published and authorized Porch
                                                                                      3 House to publish their Super-Bloom Shoot images on their public Behance pages, they
                                                                                      4 falsely represented to the public that the Super-Bloom Shoot images were created for
                                                                                      5 Volvo as part of Volvo’s social media campaign for its newly released Volvo S60,21
                                                                                      6 and they exploited Volvo’s proprietary designs and famous marks for their own
                                                                                      7 commercial advantage. As a consequence, Volvo submits Schroeder is equitably
                                                                                      8 estopped from claiming the subject photographs were not created at Volvo’s request,
                                                                                      9 and Volvo further submits that the totality of Schroder’s conduct demonstrates that
                                                                                     10 Volvo had a reasonable basis under the Interscope test to conclude it was authorized
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 to re-share these photographs on social media.22
                                                                                     12        B.      Each of Sumida’s Claims is Preempted by the Copyright Act
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                                                                                     13                1.    Sumida’s State Law Claims are Preempted.
                                                                                     14        Each of Sumida’s purported Third, Fourth, Fifth and Sixth Claims is based on
                                                                                     15 state law,23 and each is preempted under the Copyright Act. The Copyright Act
                                                                                     16
                                                                                        21
                                                                                           See RJN, Ex. 2, at p. 1 (“‘Bloom’ is an integrated production from Porch House in
                                                                                     17 collaboration   with photographer Jack Schroeder. We took full advantage of the
                                                                                        beautiful  super-bloom
                                                                                     18 film and photo set with   and took the new S60 out for it’s [sic] debut. Enjoy this short
                                                                                                                          Model Britni Sumida for Volvo Cars TM”); p. 2
                                                                                        (“Director/DP:    Andrew    Schneider
                                                                                     19 Porch House … Model: Britni Sumida      … Photographer: Jack Schroeder … Production:
                                                                                                                                      … Car: 2019 Volvo S60... Client: Volvo.”);
                                                                                     20 p. 5 (“Volvo-Bloom.      This  is a social campaign  for Volvo Cars.”) (Emphasis added).
                                                                                        22
                                                                                     21 23,The  allegations in paragraph 18 of the SAC only address Schroeder’s alleged April
                                                                                            2019, Instagram post and do not tip the scales in Schroeder’s favor. As already
                                                                                     22 explained,  Volvo did not need Schroeder’s permission to re-share any photos
                                                                                        Schroeder had uploaded to his public Instagram account and, indeed, the allegations in
                                                                                     23 paragraph   18 do not show that Volvo was seeking authorization to do so. To the
                                                                                        contrary, paragraph 18 shows that Volvo sought consent to share Schroeder’s April 23
                                                                                        post on Volvo’s website. Schroeder does not allege Volvo ever shared Schroeder’s
                                                                                     24 April  23 Instagram post (or any others), and Volvo never did. Volvo only re-shared
                                                                                     25 by Schroedermonths
                                                                                        photographs             later, after they had been re-published on Instagram and Behance
                                                                                                        and Porch House, and after Schroeder and Porch House had falsely
                                                                                     26 claimed the Super-Bloom Shoot photos were a “social campaign for Volvo Cars.”
                                                                                        23
                                                                                           Sumida’s Third through Sixth Claims allege, respectively, violation of California
                                                                                     27 Bus.  and Prof. Code §§17200 et seq.; Unfair Competition under California common
                                                                                        law;  violation
                                                                                     28 California commonof Cal. Civ. Code § 3344; and Misappropriation of Likeness under
                                                                                                              law.
                                                                                                                                  – 14 –
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 24 of 34 Page ID #:142



                                                                                      1 expressly preempts “all legal and equitable rights that are equivalent to any of the
                                                                                      2 exclusive rights within the general scope of copyright as specified by section 106.” 17
                                                                                      3 U.S.C. § 301(a). A state law cause of action is preempted by the Copyright Act if (1)
                                                                                      4 the rights that a plaintiff asserts under state law are rights that are equivalent to those
                                                                                      5 protected by the Copyright Act, and (2) the work involved falls within the “subject
                                                                                      6 matter” of the Copyright Act. See Kodadek v. MTV Networks, Inc., 152 F.3d 1209,
                                                                                      7 1212 (9th Cir. 1998).
                                                                                      8        California state courts and federal courts in this circuit have held that the state
                                                                                      9 law misappropriation claims asserted by Sumida are preempted under the Copyright
                                                                                     10 Act. In Fleet v. CBS, Inc., 50 Cal.App.4th 1191 (1996), an actor brought a claim for
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                                                                                     11 misappropriation of his name, likeness and image. There, similar to Sumida’s claims
                                                                                     12 here, the Fleet plaintiff’s misappropriation claim was based solely on the alleged
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                                                                                     13 unauthorized distribution of his performance in a motion picture. In rejecting those
                                                                                     14 state law claims, the court in Fleet held “that to the extent California law would permit
                                                                                     15 such a claim, it was preempted by federal copyright law.” Id., at 1913. In KNB
                                                                                     16 Enterprises v. Matthews, 78 Cal.App.4th 362 (2000), however, the Court of Appeal
                                                                                     17 refused to apply Fleet more broadly and limited Fleet to instances where the publicity
                                                                                     18 claims are asserted only against the copyright owner. “We do not believe a Section
                                                                                     19 3344 claims is preempted under Fleet where, as here, the defendant has no legal right
                                                                                     20 to publish the copyrighted work.” Id., at 374. More recently, however, in Jules
                                                                                     21 Jordan Video, Inc. v. 144942 Canada Inc., 617 F.3d 1146, 1150 (9th Cir. 2010), the
                                                                                     22 Ninth Circuit rejected the reasoning and decision of the California Court of Appeal in
                                                                                     23 KNB and held that the same state law claims asserted by here by Sumida are
                                                                                     24 preempted under the Copyright Act.
                                                                                     25        In Jules Jordan, the plaintiff/adult film actor claimed that the defendant
                                                                                     26 infringed on his copyright though the “repeated unauthorized reproduction,
                                                                                     27 counterfeiting, and sale of such counterfeit copies of Plaintiffs' copyrighted works to
                                                                                     28 third parties.” Id. at 1154. The plaintiff also claimed that using his image on the
                                                                                                                                  – 15 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 25 of 34 Page ID #:143



                                                                                      1 DVD packaging associated with the copyrighted works violated his rights of publicity.
                                                                                      2 In dismissing the actor’s right of publicity claims on the basis of copyright preemption
                                                                                      3 in Jules Jordan, the Ninth Circuit held as follows:
                                                                                      4               We do not read Fleet or the Copyright Act so narrowly.
                                                                                      5               Whether a claim is preempted under Section 301 does not turn
                                                                                                      on what rights the alleged infringer possesses, but on whether
                                                                                      6               the rights asserted by the plaintiff are equivalent to any of the
                                                                                      7               exclusive rights within the general scope of the copyright. The
                                                                                                      question is whether the rights are works of authorship fixed in a
                                                                                      8               tangible medium of expression and come within the subject
                                                                                      9               matter of the Copyright Act. If a plaintiff asserts a claim that is
                                                                                                      the equivalent of a claim for infringement of a copyrightable
                                                                                     10               work, that claim is preempted, regardless of what legal rights
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                                                                                     11               the defendant might have acquired. Id. at 1154-55.
                                                                                     12        The court concluded that the plaintiff’s “right of publicity claim falls within the
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                                                                                     13 subject matter of copyright, and that the rights he asserts are equivalent to the rights
                                                                                     14 within the scope of § 106 of the Copyright Act” because “[t]he essence of [plaintiff’s]
                                                                                     15 claim is that the … defendants reproduced and distributed the DVDs without
                                                                                     16 authorization.” Id. at 1155.
                                                                                     17        Substantively, Sumida’s claim is no different than the claim asserted by the
                                                                                     18 plaintiff in Jules Jordan. In Jules Jordan, the plaintiff knowingly provided acting
                                                                                     19 services on camera in copyrighted motion pictures. Here, Sumida likewise knowingly
                                                                                     20 provided modeling services on camera in copyrighted photographs. In Jules Jordan,
                                                                                     21 the plaintiff did not take issue with the distribution of the movie in general; instead, he
                                                                                     22 took issue with the defendant’s specific unauthorized reproduction and sale of the
                                                                                     23 movie. Here, Sumida similarly does not take issue with the distribution of the subject
                                                                                     24 photographs in general (indeed, she authorized Schroeder and Porch House to publish
                                                                                     25 and allowed them to tag her (and Volvo) in the subject photographs—thereby making
                                                                                     26 the photographs available to all of Volvo’s and Sumida’s Instagram followers);
                                                                                     27 instead, she takes issue with the fact that Volvo re-shared Super-Bloom Shoot images
                                                                                     28 of her and the Volvo S60 without her permission. Thus, as with the plaintiff in Jules
                                                                                                                                  – 16 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 26 of 34 Page ID #:144



                                                                                      1 Jordan, the gravamen of Ms. Sumida’s “right of publicity” claims is that Volvo
                                                                                      2 redistributed copyrighted photographs depicting her image without her permission.
                                                                                      3 As the Jules Jordan court held, such state law claims are squarely within the subject
                                                                                      4 matter of copyright and therefore are preempted under the Copyright Act.
                                                                                      5              2.    Sumida’s Second Claim for Alleged Lanham Act Violations is also
                                                                                                           Preempted Under the Copyright Act.
                                                                                      6
                                                                                      7        Sumida’s Lanham Act claim similarly is preempted under the Copyright Act.
                                                                                      8 Numerous courts in this circuit and district have applied the reasoning in Jules Jordan
                                                                                      9 and the US Supreme Court decision in Dastar Corp. v. Twentieth Century Fox Film
                                                                                     10 Corp., 539 U.S. 23 (2003) to determine that Lanham Act claims based on the alleged
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                                                                                     11 unauthorized use of a person’s likeness in a copyrighted work are preempted under the
                                                                                     12 Copyright Act. See e.g. Slep-Tone Entm't Corp. v. Wired for Sound Karaoke & DJ
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                                                                                     13 Servs., LLC, 845 F.3d 1246, 1250 (9th Cir. 2017) (“When the claim is more accurately
                                                                                     14 conceived of as attacking unauthorized copying, Dastar requires us to avoid
                                                                                     15 recognizing a “species of mutant copyright law” by making such claims cognizable
                                                                                     16 under the Lanham Act.”); Meribear Prods., Inc. v. Vail, 2014 WL 12597609, at *3
                                                                                     17 (C.D. Cal. Aug. 5, 2014) (“Dastar controls this case. MBH's Section 43(a) claim is
                                                                                     18 premised on the theory that Defendants essentially plagiarized MBH's design work by
                                                                                     19 presenting it as Vail's work.”); Lauter v. Rosenblatt, 2017 WL 6205784, at *7 (C.D.
                                                                                     20 Cal. Dec. 6, 2017) (“Because that unauthorized distribution falls squarely within the
                                                                                     21 Copyright Act, Plaintiff’s Lanham Act claim against EBAC is preempted.”); Lions
                                                                                     22 Gate Entm't Inc. v. TD Ameritrade Servs. Co., Inc., 170 F. Supp. 3d 1249, 1265 (C.D.
                                                                                     23 Cal. 2016) (“The same kind of preemption principle applies for federal Lanham Act
                                                                                     24 causes of action as for state and common-law causes of action.”) Carranza v. Lideres
                                                                                     25 Entm't Grp., 2009 WL 10675974, at *3 (C.D. Cal. June 29, 2009) (“In addition, UMG
                                                                                     26 correctly notes that all of Plaintiff's Lanham Act claims . . . as currently alleged,
                                                                                     27 would be preempted by the Copyright Act as explained by the Supreme Court in
                                                                                     28 Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23 (2003). Carranza is
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                                                                                                 DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 27 of 34 Page ID #:145



                                                                                      1 essentially claiming in these causes of action that UMG took his work and reproduced,
                                                                                      2 distributed, and sold it—all rights protected by the Copyright Act.”) See also Basil v.
                                                                                      3 New Razor & Tie Enterprises, LLC, 2018 WL 3869480, at *4 (C.D. Cal. Feb. 14,
                                                                                      4 2018) (“Basil’s Lanham Act claim alleges no well-pleaded facts that would support a
                                                                                      5 claim that is not preempted by the Copyright Act …. The Court therefore dismisses
                                                                                      6 the SAC’s Lanham Act claim.”); Aquawood, LLC v. Toys "R" Us-Delaware, Inc.,
                                                                                      7 2016 WL 10576620, at *3 (C.D. Cal. Mar. 10, 2016) (dismissing unfair competition
                                                                                      8 claims because they were preempted by the Copyright Act).
                                                                                      9        C.      Sumida’s Claim for Violation of the Lanham Act also Fails Because
                                                                                                       Volvo Did Not Suggest That Sumida Endorsed Volvo’s Cars.
                                                                                     10
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                                                                                     11        Sumida alleges that Volvo violated section 43(a) of the Lanham Act by
                                                                                     12 “creating the false impression that Sumida endorses Volvo.” SAC, ¶ 49. Section
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                                                                                     13 43(a) of the Lanham Act provides, in pertinent part, that “any person who… uses in
                                                                                     14 commerce any word, term, name, symbol, or device, or any combination thereof, or
                                                                                     15 any false designation of origin, false or misleading description of fact, or false or
                                                                                     16 misleading representation of fact, which … is likely to cause confusion, or to cause
                                                                                     17 mistake, or to deceive as to the … sponsorship, or approval of his or her goods,
                                                                                     18 services… shall be liable in a civil action by any person who believes that he or she is
                                                                                     19 or is likely to be damaged by such act.” 15 U.S.C. § 1125(a)(1). Thus, in order to
                                                                                     20 state a claim under the Lanham Act, Sumida must establish that Volvo’s ad created a
                                                                                     21 likelihood of confusion as to whether she was endorsing Volvo’s products. See White
                                                                                     22 v. Samsung Elecs. Am., Inc., 971 F.2d 1395, 1399 (9th Cir. 1992).
                                                                                     23        “Under the law of false endorsement, likelihood of customer confusion is the
                                                                                     24 determinative issue.” Cairns v. Franklin Mint Co., 292 F.3d 1139, 1149 (9th Cir.
                                                                                     25 2002). “[N]ot all uses of a [person’s] image are actionable under § 1125(a). Only
                                                                                     26 uses which suggest sponsorship or approval are prohibited.” Cairns v. Franklin Mint
                                                                                     27 Co., 107 F. Supp. 2d 1212, 1214 (C.D. Cal. 2000). The Lanham Act “prohibits only
                                                                                     28 false endorsement, not mere use of an image or name.” Id. “The ‘likelihood of
                                                                                                                                  – 18 –
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 28 of 34 Page ID #:146



                                                                                      1 confusion’ inquiry generally considers whether a reasonably prudent consumer in the
                                                                                      2 marketplace is likely to be confused as to the origin or source of the goods or services
                                                                                      3 bearing one of the marks or names at issue in the case.” Rearden LLC v. Rearden
                                                                                      4 Commerce, Inc., 683 F.3d 1190, 1209 (9th Cir. 2012). “To succeed, a plaintiff must
                                                                                      5 show more than simply a possibility of such confusion.” Id.24
                                                                                      6        Sumida does not allege that Volvo made any explicit statement that she was
                                                                                      7 endorsing Volvo’s products. Indeed, Sumida does not (and cannot) allege that Volvo
                                                                                      8 used her name in connection with any of images at issue or otherwise. Instead,
                                                                                      9 Sumida alleges that Volvo created the impression that Sumida endorsed the Volvo
                                                                                     10 merely by sharing images of Sumida as she posed with the Volvo S60. Sumida’s
                 A limited liability partnership formed in the State of Delaware




                                                                                     11 allegations are insufficient as a matter of law. Merely posting the subject photographs
                                                                                     12 on its social media pages, without more, does not constitute an endorsement of
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                                                                                     13 Volvo’s products. See Cairns v. Franklin Mint Co., 107 F. Supp. 2d 1212, 1216 (C.D.
                                                                                     14 Cal. 2000) (dismissing Lanham Act claim because “[d]efendants’ use of the image of
                                                                                     15 Princess Diana on their products and the words “Diana, Princess of Wales,” to
                                                                                     16 describe their products does not imply endorsement by plaintiff.”).
                                                                                     17        The fact that Sumida is a professional model also is fatal to her Lanham Act
                                                                                     18 claim. See Ji v. Bose Corp., 538 F. Supp. 2d 349, 353 (D. Mass. 2008) (finding no
                                                                                     19 likelihood of confusion as to model’s endorsement where Bose used her image in an
                                                                                     20 advertisement); Bondar v. LASplash Cosmetics, 2012 WL 6150859, at *7 (S.D.N.Y.
                                                                                     21 Dec. 11, 2012) (“[T]he misappropriation of a completely anonymous face could not
                                                                                     22 form the basis for a false endorsement claim, because consumers would not infer that
                                                                                     23 an unknown model was “endorsing” a product, as opposed to lending her image to a
                                                                                     24 company for a fee.”).
                                                                                     25        Moreover, any incidental “confusion” as to whether Sumida was endorsing
                                                                                     26   24
                                                                                           Courts look to eight factor when determining whether there is a likelihood of
                                                                                     27 marks; (4) (1)
                                                                                        confusion:       strength of the mark; (2) proximity of the goods; (3) similarity of the
                                                                                                     evidence of actual confusion; (5) marketing channels used; (6) type of
                                                                                     28 goods   and the degree of care likely to be exercised by the purchaser; (7) defendant's
                                                                                        intent in selecting the mark; and (8) likelihood of expansion of the product lines.” Id
                                                                                                                                 – 19 –
                                                                                                 DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 29 of 34 Page ID #:147



                                                                                      1 Volvo’s products was self-inflicted. Sumida voluntarily posed with the Volvo S60,
                                                                                      2 and she then authorized automotive industry advertising professionals—Schroeder and
                                                                                      3 Porch House—to publish those photographs on Instagram (where she and Volvo were
                                                                                      4 tagged) and on Behance (where they identified her, by name, as a model “for Volvo
                                                                                      5 Cars,” and falsely represented that the photographs of her posing with the Volvo S60
                                                                                      6 were part of a Volvo-authorized “social campaign for Volvo Cars.”). Volvo clearly
                                                                                      7 did not create any confusion as to whether Sumida endorsed its products.              Her
                                                                                      8 Lanham Act claim fails as a matter of law.25
                                                                                      9        D.      Sumida’s Claims for Misappropriation of Her “Likeness” Fail
                                                                                                       Because She Gave Consent and All Uses Were Incidental.
                                                                                     10
                                                                                                       1.    Sumida Consented to The Use of Her “Likeness” and Authorized
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                                                                                     11                      Schroeder and Porch House to Post Her Image on Public Social
                                                                                                             Media Sites.
                                                                                     12
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                                                                                     13        “To sustain a common law cause of action for commercial misappropriation, a
                                                                                     14 plaintiff must prove: ‘(1) the defendant's use of the plaintiff's identity; (2) the
                                                                                     15 appropriation of plaintiff's name or likeness to defendant's advantage, commercially or
                                                                                     16
                                                                                        25
                                                                                            The Ninth Circuit has “consistently held that state common law claims of unfair
                                                                                     17 competition     and actions pursuant to California Business and Professions Code §
                                                                                        17200   are ‘substantially
                                                                                     18 News Corp., 30 F.3d 1255,   congruent’ to claims made under the Lanham Act.” Cleary v.
                                                                                                                         1262–63 (9th Cir. 1994). Thus, because Lanham Act
                                                                                        claim  fails, its claims for “common
                                                                                     19 be dismissed. See e.g. Japan Telecom,  law unfair competition” and UCL claim must also
                                                                                                                                   Inc. v. Japan Telecom Am. Inc., 287 F.3d 866,
                                                                                     20 related Lanham Act claims fail.”); R & Aunfair
                                                                                        875  (9th  Cir.  2002)(“[Plaintiff’s California        competition claim fails because its
                                                                                                                                          Synergy LLC v. Spanx, Inc., 2019 WL
                                                                                     21 4390564,    at *15 (C.D. Cal. May 1, 2019) (“Plaintiff’s state law claim for unfair
                                                                                        competition realleges the same facts and reasserts the same arguments as embodied by
                                                                                     22 Plaintiff’s Lanham Act claims. As described above, Plaintiff has failed to sufficiently
                                                                                        plead in the SAC any plausible claim for relief under the Lanham Act. Therefore, …
                                                                                     23 the  Court GRANTS Defendant’s motion to dismiss Plaintiff’s derivative state law
                                                                                        claim.”).
                                                                                     24 Moreover, “the common law tort of unfair competition is generally thought to be
                                                                                     25 synonymous      with the act of ‘passing off’ [or palming off] one’s goods as those of
                                                                                        another.” Aquawood, LLC v. Toys "R" Us-Delaware, Inc., 2016 WL 10576620, at *2
                                                                                     26 (C.D.  Cal. Mar. 10, 2016) (citing Bank of the W. v. Superior Court, 2 Cal. 4th 1254,
                                                                                        1263 (1992)). “‘Passing off’” consists of confusing the public and misleading them
                                                                                        into thinking that defendant’s product is actually the plaintiff’s. Id. There are no
                                                                                     27 allegations   that Volvo misled the public into thinking that Volvo’s products were
                                                                                        actually  Sumida’s,
                                                                                     28 this additional reason.and thus her common law unfair competition claim also fails for

                                                                                                                                  – 20 –
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 30 of 34 Page ID #:148



                                                                                      1 otherwise; (3) lack of consent; and (4) resulting injury.’” Newcombe v. Adolf Coors
                                                                                      2 Co., 157 F.3d 686, 692 (9th Cir. 1998) (citing Eastwood v. Superior Court of Los
                                                                                      3 Angeles County, 149 Cal.App.3d 409, 417 (1983)). “Furthermore, California Civil
                                                                                      4 Code § 3344 provides a statutory remedy for commercial misappropriation. ‘Under
                                                                                      5 section 3344, a plaintiff must prove all the elements of the common law cause of
                                                                                      6 action. In addition, the plaintiff must allege a knowing use [without consent] by the
                                                                                      7 defendant as well as a direct connection between the alleged use and the commercial
                                                                                      8 purpose.’” Jones v. Corbis Corp., 815 F. Supp. 2d 1108, 1113 (C.D. Cal. 2011)
                                                                                      9 (citing Newcombe, 157 F.3d at 692).
                                                                                     10         Both of Sumida’s misappropriation of likeness claims fail because she posed
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                                                                                     11 with and in the Volvo S60 and then allowed Schroeder and Porch House to publicly
                                                                                     12 disseminate the Subject Photographs, thereby manifesting her consent to the use of her
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                                                                                     13 likeness in conjunction with the vehicle. In Jones, the plaintiff (actress Shirley Jones)
                                                                                     14 posed for “red carpet” photos taken by individual photographers, who then licensed
                                                                                     15 their photographs to the defendant. When the defendant displayed the images on its
                                                                                     16 website, Ms. Jones sued for misappropriating her name and likeness. Id. at 1110-
                                                                                     17 1111.     The court held that Ms. Jones could not maintain an action for
                                                                                     18 misappropriation of her likeness because she consented to having her photograph
                                                                                     19 taken and knew that the images would be distributed. Id. 1113-4. Moreover, the court
                                                                                     20 rejected the actress’ argument that “she did not consent to Defendant's placement of
                                                                                     21 sample images on its websites for the purpose of soliciting customers to sell copyright
                                                                                     22 licenses for the images” because her “consent is measured from Plaintiff’s manifested
                                                                                     23 action or inaction.” Id. at 1114.
                                                                                     24         As in Jones, Sumida consented to being photographed with the Volvo S60 and
                                                                                     25 she knew that Schroeder would publish those photographs. She also allowed Porch
                                                                                     26 House (a production company specializing in automobile advertisements) to publish
                                                                                     27 images of her and the Volvo S60. Having done so, Sumida cannot later claim that
                                                                                     28 never consented to the use of her likeness in conjunction with the Volvo S60.
                                                                                                                                 – 21 –
                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 31 of 34 Page ID #:149



                                                                                      1 Moreover, she cannot contend that Volvo had reason to know she had not such,
                                                                                      2 especially after Schroeder had previously offered to license the subject photographs to
                                                                                      3 Volvo for use on Volvo’s website. See SAC, ¶ 19. If anything, Schroeder’s offer to
                                                                                      4 license photographs of Sumida and the Volvo S60 reinforced the existing logical
                                                                                      5 inference that Sumida had consented. In any event, the facts do not establish that
                                                                                      6 Volvo knew or should have known Sumida’s consent had not been obtained and thus
                                                                                      7 her misappropriation claim under California Civil Code section 3344 necessarily fails
                                                                                      8 as a matter of law.
                                                                                      9                 2.     Sumida’s Misappropriation Claims Also Fail Because Her
                                                                                                               Likeness Cannot be Identified in Many of the Subject Photographs
                                                                                     10                        and/or Because Her Likeness Was Incidental.
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                                                                                     11        To state a claim for misappropriation, a plaintiff’s likeness must be “readily
                                                                                     12 identifiable.”       Newcombe, 157 F.3d at 692. “A person is deemed to be readily
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                                                                                     13 identifiable from a photograph “‘when one who views the photograph with the naked
                                                                                     14 eye can reasonably determine that the person depicted in the photograph is the same
                                                                                     15 person who is complaining of its unauthorized use.’ Cal. Civ. Code § 3344(b)(1).” Id.
                                                                                     16 In several of the photographs, Sumida’s image blurred or obscured. In others, her
                                                                                     17 back is to the camera or only her silhouette is visible. Sumida cannot state a claim for
                                                                                     18 misappropriation of likeness as to any such photograph because she is not readily
                                                                                     19 identifiable.
                                                                                     20        Moreover, even where Sumida could be identified, her claims still fail because
                                                                                     21 the use of her likeness was incidental. “[I]ncidental use of a name or likeness does not
                                                                                     22 give rise to liability for invasion of privacy by appropriation.” Aligo v. Time-Life
                                                                                     23 Books, Inc., 1994 WL 715605, at *2 (N.D. Cal. Dec. 19, 1994); Yeager v. Cingular
                                                                                     24 Wireless LLC, 673 F. Supp. 2d 1089, 1100 (E.D. Cal. 2009). The following factors
                                                                                     25 are relevant to whether a use is incidental: “(1) whether the use has a unique quality or
                                                                                     26 value that would result in commercial profit to the defendant; (2) whether the use
                                                                                     27 contributes something of significance; (3) the relationship between the reference to the
                                                                                     28 plaintiff and the purpose and subject of the work; and (4) the duration, prominence or
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                                                                                                  DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 32 of 34 Page ID #:150



                                                                                      1 repetition of the name or likeness relative to the rest of the publication.” Davis v.
                                                                                      2 Elec. Arts Inc., 775 F.3d 1172, 1180 (9th Cir. 2015).
                                                                                      3        None of the foregoing factors establish that Sumida’s presence in the subject
                                                                                      4 photographs is anything but incidental. In each such photograph, the Volvo S60 and
                                                                                      5 the California Super-bloom, not Sumida, were the focus. As Plaintiffs admit, “the
                                                                                      6 purpose of the Photos was to hone [Schroeder’s] skills, keep his portfolio up to date
                                                                                      7 with images of current models of cars—in this case, the 2019 Volvo S60—and to take
                                                                                      8 advantage of the ‘super-bloom’ of wildflowers happening in Southern California at
                                                                                      9 the time.” SAC, ¶ 16.
                                                                                     10        E.      Sumida’s Claims For Attorney’s Fees and Punitive Damages Should
                                                                                                       be Dismissed.
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                                                                                     11
                                                                                     12        Prayers for relief that are unavailable as a matter of law are properly challenged
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                                                                                     13 by a Rule 12(b)(6) motion to dismiss rather than a Rule 12(f) motion to strike. See
                                                                                     14 Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974-75 (9th Cir. 2010); see also
                                                                                     15 Danielson v. Wells Fargo Bank, 2011 WL 4480849, at *3 (C.D. Cal. Sept. 26, 2011)
                                                                                     16 (“The Ninth Circuit has implicitly authorized the use of a 12(b)(6) motion to challenge
                                                                                     17 a prayer for damages precluded by law.”); Delgado v. Nationstar Mortg. LLC, 2014
                                                                                     18 WL 2115218, at *7 (C.D. Cal. May 21, 2014) (“[A] court must evaluate damages
                                                                                     19 allegation[d] under Rule 12(b)(6).”); Goldsmith v. CVS Pharmacy, Inc., 2020 WL
                                                                                     20 3966004, at *10 (C.D. Cal. May 5, 2020) (construing a Rule 12(f) motion to strike
                                                                                     21 punitive damages as a 12(b)(6) motion to dismiss).
                                                                                     22        Sumida seeks attorneys’ fees and punitive damages in the SAC’s prayer,
                                                                                     23 however, she is not entitled to either of these remedies.
                                                                                     24                1.    Sumida Is Not Entitled To Attorneys’ Fees
                                                                                     25        “The general rule in federal courts is that ‘absent statute or enforceable contract,
                                                                                     26 litigants pay their own attorneys’ fees.’” Indep. Living Ctr. of S. California, Inc. v.
                                                                                     27 Kent, 909 F.3d 272, 281 (9th Cir. 2018) (citing Alyeska Pipeline Serv. Co v.
                                                                                     28 Wilderness Soc’y, 421 U.S. 240. 257 (1975)). Ms. Sumida’s request for attorneys’
                                                                                                                                  – 23 –
                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 33 of 34 Page ID #:151



                                                                                      1 fees is based on California Civil Code section 3344(a). SAC, ¶ 71. However as
                                                                                      2 explained in section IV.D., supra, this cause of action fails as a matter of law because
                                                                                      3 Sumida consented to the use of her likeness by posing for the photographs and none of
                                                                                      4 the allegations suggest Volvo had knowledge that she had not given her consent.
                                                                                      5              2.     Sumida Is Not Entitled To Punitive Damages
                                                                                      6        Sumida’s punitive damages request appears to be in connection with her causes
                                                                                      7 of action for violation of the Lanham Act [SAC, ¶ 58], Unfair competition in violation
                                                                                      8 of the UCL [SAC, ¶ 65], violation of section 3344(a) [SAC, ¶ 75], and common law
                                                                                      9 misappropriation of her likeness [SAC, ¶ 79]. Preliminarily, punitive damages are not
                                                                                     10 available for a violation of the UCL. See Ozeran v. Jacobs, 798 F. App’x 120, 122
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                                                                                     11 (9th Cir. 2020) (“Neither compensatory nor punitive damages are available under the
                                                                                     12 UCL.”) (citing Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134 (2003));
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                                                                                     13 Plakhova v. Hood, 2017 WL 10592315, at *3 (C.D. Cal. June 20, 2017) (“Moreover,
                                                                                     14 punitive damages, including money damages, are not recoverable under the UCL —
                                                                                     15 Bus. & Prof. Code §§ 17200, et seq., permits only restitution and injunctive relief.”).
                                                                                     16 Further, because as explained in Section IV. B-D, each of these causes of action fails
                                                                                     17 as a matter of law, Sumida’s claim for punitive damages must be dismissed. Finally,
                                                                                     18 there is simply no conduct alleged in the SAC suggesting that punitive damages are
                                                                                     19 appropriate in this case. Volvo, after being tagged in the subject photographs did
                                                                                     20 exactly what the Plaintiffs seemingly wanted Volvo to do—they re-shared the subject
                                                                                     21 photographs on social media. Even if doing so somehow violated Sumida’s publicity
                                                                                     22 rights, there are no facts that would support an award of punitive or exemplary
                                                                                     23 damages.
                                                                                     24 V.     CONCLUSION
                                                                                     25        For the foregoing reasons, the Defendant respectfully submits that the SAC
                                                                                     26 should be dismissed in its entirety with prejudice.
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                                                                                                 DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 17 Filed 08/10/20 Page 34 of 34 Page ID #:152



                                                                                      1 DATED: August 10, 2020              REED SMITH LLP
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                                                                                      3                                     By: /s/ Harrison J. Dossick__________
                                                                                                                               Harrison J. Dossick
                                                                                      4                                        Jonathan D. Gershon
                                                                                                                               Attorneys for Defendant
                                                                                      5                                        Volvo Car USA LLC
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                                                                                                DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
